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A period of probation of three (3) years that will be terminated by the Court prior to the three (3) year term upon a certification to the
Court of the completion of the sale of Defendant or Defendant's gas distribution business to a qualified third-party buyer consistent with
the requirements of M.G.L. c. 164, § 96 and Interlocutory Order on Standard of Review, D.P.U. 10-170, and formal acceptance of the sale
by the Massachusetts Department of Public Utilities ("MA DPU") ("the Final Sale Certification"). Subject to the Court's approval of the
form of the Final Sale Certification, the Court will terminate the Defendant's sentence of probation upon the Court's receipt of the Final
Sale Certification. However, in the event that the Final Sale Certification is received by the Court prior to the one (1) year mandatory
period of probation under 18 U.S.C. § 3561, Defendant's probation will continue for the remainder of the one (1) year period but subject
to only the mandatory conditions of probation set forth in USSG § 8D1.3 and 18 U.S.C. § 3563(a), and not the additional conditions of
probation specified in paragraph 5(c) since Defendant will no longer be the legal owner of its previous gas distribution business or assets.
Under the latter scenario, the parties will file, and the Court will approve, the request for termination of probation at the end of the one-
year mandatory period.
              Case 1:20-cr-10066-FDS Document 45 Filed 06/24/20 Page 3 of 5


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